Case:17-03283-LTS Doc#:17110 Filed:06/18/21 Entered:06/18/21 19:17:08                           Desc: Main
                           Document Page 1 of 10



                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF PUERTO RICO




      In re:
      THE FINANCIAL OVERSIGHT AND                                    PROMESA
      MANAGEMENT BOARD FOR PUERTO RICO,                              Title III
               as representative of
                                                                     No. 17 BK 3283-LTS
      THE COMMONWEALTH OF PUERTO RICO, et al.,                       (Jointly Administered)
                       Debtors.1


      THE FINANCIAL OVERSIGHT AND
      MANAGEMENT BOARD FOR PUERTO RICO,
                                                                     Adv. Proc. No. 20-00003-
               as representative of                                  LTS
      THE COMMONWEALTH OF PUERTO RICO,
                      Plaintiff,
                              v.
      AMBAC ASSURANCE CORPORATION, et al.,
                       Defendants.




  1
    The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the
  last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
  Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax
  ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK
  3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation
  Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808);
  (iv) Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”)
  (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico
  Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780‐LTS) (Last Four Digits of Federal
  Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-
  5523-LTS) (Last Four Digits of Federal Tax ID: 3801).
Case:17-03283-LTS Doc#:17110 Filed:06/18/21 Entered:06/18/21 19:17:08    Desc: Main
                           Document Page 2 of 10



    THE FINANCIAL OVERSIGHT AND
    MANAGEMENT BOARD FOR PUERTO RICO,
                                                   Adv. Proc. No. 20-00004-
         as representative of                      LTS
    THE COMMONWEALTH OF PUERTO RICO,
                Plaintiff,
                        v.
    AMBAC ASSURANCE CORPORATION, et al.,
                 Defendants.


    THE FINANCIAL OVERSIGHT AND
    MANAGEMENT BOARD FOR PUERTO RICO,
                                                   Adv. Proc. No. 20-00005-
         as representative of                      LTS
    THE COMMONWEALTH OF PUERTO RICO,
                Plaintiff,
                        v.
    AMBAC ASSURANCE CORPORATION, et al.,
                 Defendants.



     JOINT INFORMATIVE MOTION OF AMBAC ASSURANCE CORPORATION,
    FINANCIAL GUARANTY INSURANCE COMPANY, THE BANK OF NEW YORK
    MELLON, U.S. BANK TRUST NATIONAL ASSOCIATION, AND THE FINANCIAL
        OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO, AS
        REPRESENTATIVE OF THE COMMONWEALTH OF PUERTO RICO,
         PURSUANT TO THE COURT’S ORDER DATED JANUARY 20, 2021
Case:17-03283-LTS Doc#:17110 Filed:06/18/21 Entered:06/18/21 19:17:08                       Desc: Main
                           Document Page 3 of 10



         Ambac Assurance Corporation (“Ambac”), Financial Guaranty Insurance Company

  (“FGIC”, and collectively with Ambac, the “Monolines”), The Bank of New York Mellon

  (“BNYM”), U.S. Bank Trust National Association (“U.S. Bank”, and collectively with the

  Monolines and BNYM, the “Defendants”), and the Financial Oversight and Management Board

  for Puerto Rico (the “Board”), as Title III representative of the Commonwealth of Puerto Rico (the

  “Commonwealth” or “Debtor”) pursuant to section 315(b) of the Puerto Rico Oversight,

  Management, and Economic Stability Act (“PROMESA”), respectfully submit this joint

  informative motion pursuant to the Court’s Order Regarding Discovery in Connection with

  Motions of the Commonwealth of Puerto Rico, By and Through the Financial Oversight and

  Management Board, Pursuant to Bankruptcy Rule 7056 for Partial Summary Judgment

  Disallowing Claims (ECF No. 15656) (the “Rule 56(d) Order”),2 which ordered the Board and

  Defendants (the “Parties”) to jointly file an informative motion proposing a supplemental summary

  judgment briefing schedule, together with agreed page limitations, following the completion of

  discovery authorized thereunder.

         1.      On January 20, 2021, the Court issued the Rule 56(d) Order. The Rule 56(d) Order

  authorized discovery into specified topics and provided that, within seven days “of the completion

  of discovery, the parties are directed to jointly file an informative motion proposing a supplemental

  summary judgment briefing schedule pursuant to this Order, together with agreed page

  limitations.” (Rule 56(d) Order at 12.)

         2.      Pursuant to a June 11, 2021, order of Judge Dein, the discovery period under the

  Rule 56(d) Order closed on June 11, 2021. (See Order on Joint Status Report (ECF No. 16962).)




  2
   Unless otherwise indicated, all ECF numbers referenced herein refer to the docket in Case No. 17 BK
  3283-LTS.
Case:17-03283-LTS Doc#:17110 Filed:06/18/21 Entered:06/18/21 19:17:08                            Desc: Main
                           Document Page 4 of 10



          3.      The Parties met-and-conferred on June 15 and June 18, 2021, concerning the

  structure of, and deadlines and page limitations for, the supplemental summary judgment briefs

  and reached certain agreements.

          4.      The Board has represented that it is not seeking at this time to add new statements

  of undisputed material facts to its existing summary judgment motions. The Parties have agreed

  that, on or before July 16, 2021, Defendants will file supplemental briefs opposing the summary

  judgment motions, including any amended counter-statements of undisputed material fact and

  statements of additional material facts, reflecting what Defendants contend to be the relevant facts

  that discovery has revealed.

          5.      On or before August 13, 2021, the Board will file its responses to Defendants’

  submissions. Defendants’ position is that they should be entitled to file further response briefs to

  the Board’s supplemental briefs, to the extent that the Board raises any new arguments or cites

  additional facts in further support of its motion. The Board disagrees with Defendants’ position

  that Defendants should be entitled to file sur-replies to the pending summary judgment motions.

  The Parties reserve all rights on this issue, and agree to defer resolution of this issue, if it arises at

  all, until after the Board files its responsive submissions. This schedule is without prejudice to

  Defendants requesting leave to file a response to the Board’s (or any other party’s) submissions or

  the Board’s right to oppose such a request.

          6.      With respect to page limitations, the Parties have agreed as follows:

               a. supplemental briefs in the HTA Adversary Proceeding will be limited to 55 pages

                  per side;

               b. supplemental briefs in the PRIFA Adversary Proceeding will be limited to 35 pages

                  per side; and



                                                      2
Case:17-03283-LTS Doc#:17110 Filed:06/18/21 Entered:06/18/21 19:17:08                      Desc: Main
                           Document Page 5 of 10



              c. supplemental briefs in the CCDA Adversary Proceeding will be limited to 25 pages

                 per side.

         7.      Defendants will endeavor to file a single consolidated brief in each Adversary

  Proceeding. Any substantive separate briefs filed by Defendants will count against Defendants’

  page limits set forth in paragraph 6, above. The Board similarly will endeavor to file a single

  consolidated brief in each Adversary Proceeding, depending on how many briefs Defendants file.

  If the Board files separate briefs in any of the Adversary Proceedings to address separate briefs

  filed by Defendants, the aggregate page limits described in paragraph 6, above, will apply. Any

  substantive separate briefs filed by AAFAF or the UCC will also count against the Board’s page

  limits set forth in paragraph 6, above. Joinders filed by any party that merely specify which

  paragraphs of a principal brief that party adopts shall not count against page limits.

         8.      In the HTA Adversary Proceeding, the DRA Parties3 may file a separate brief of up

  to 7 pages by no later than July 30, 2021, which will not count against either side’s page

  limit. These page limitations are consistent with the page limitations permitted under Judge Dein’s

  intervention order. (See Order, Adv. Proc. 20-00005-LTS (ECF No. 41) at 6). The DRA Parties

  reserve the right to seek additional pages, but the Parties respectfully note that they would oppose

  any such application. The DRA Parties further reserve the right to seek leave to respond to the

  Board’s supplemental brief, and the Parties reserve the right to oppose such request.

         9.      Consistent with the Court’s Case Management Order, these page limits cover only

  memoranda of law, not declarations or exhibits. The Parties have agreed that any declarations




  3
   “DRA Parties” refers to AmeriNational Community Services, LLC, as servicer for the GDB Debt
  Recovery Authority, and Cantor-Katz Collateral Monitor LLC.
                                                   3
Case:17-03283-LTS Doc#:17110 Filed:06/18/21 Entered:06/18/21 19:17:08                      Desc: Main
                           Document Page 6 of 10



  filed pursuant to Federal Rule of Civil Procedure 56(d) will be limited to factual contentions, not

  pure legal argument, which shall be included in the memoranda of law.

         10.     The Parties propose that the Court schedule a further hearing on the summary

  judgment motions for the week of September 13, 2021, or as soon thereafter as convenient. The

  Parties request that the Court not schedule a hearing for September 16, 2021, due to religious

  observances.

         WHEREFORE, the Parties respectfully request that the Court enter an order substantially

  in the form attached hereto as Exhibit A.




                                                  4
Case:17-03283-LTS Doc#:17110 Filed:06/18/21 Entered:06/18/21 19:17:08                    Desc: Main
                           Document Page 7 of 10



 Dated: June 18, 2021
        San Juan, Puerto Rico

 FERRAIUOLI LLC                                    REXACH & PICÓ, CSP

 By: /s/ Roberto Cámara-Fuertes                    By: /s/ María E. Picó
     Roberto Cámara-Fuertes (USDC-PR No.               María E. Picó
     219002)                                           (USDC-PR No. 123214)
     Sonia Colón (USDC-PR No. 213809)                  802 Ave. Fernández Juncos
     221 Ponce de León Avenue, 5th Floor               San Juan, PR 00907-4315
     San Juan, PR 00917                                Telephone: (787) 723-8520
                                                       Facsimile: (787) 724-7844
     Telephone: (787) 766-7000
                                                       Email: mpico@rexachpico.com
     Facsimile: (787) 766-7001
     Email: rcamara@ferraiuoli.com                 BUTLER SNOW LLP
             scolon@ferraiuoli.com                 By: /s/ Martin A. Sosland
                                                       Martin A. Sosland (admitted pro hac vice)
 MILBANK LLP                                           2911 Turtle Creek Blvd., Suite 1400
                                                       Dallas, TX 75219
 By: /s/ Atara Miller                                  Telephone: (469) 680-5502
     Dennis F. Dunne (admitted pro hac vice)           Facsimile: (469) 680-5501
     Atara Miller (admitted pro hac vice)              Email: martin.sosland@butlersnow.com
     Grant R. Mainland (admitted pro hac vice)
     John J. Hughes, III (admitted pro hac vice)       James E. Bailey III (admitted pro hac vice)
     Jonathan Ohring (admitted pro hac vice)           Adam M. Langley (admitted pro hac vice)
     55 Hudson Yards                                   6075 Poplar Ave., Suite 500
     New York, NY 10001                                Memphis, TN 38119
     Telephone: (212) 530-5000
                                                       Telephone: (901) 680-7200
     Facsimile: (212) 530-5219                         Facsimile: (901) 680-7201
     Email: ddunne@milbank.com
                                                       Email: jeb.bailey@butlersnow.com
             amiller@milbank.com                             adam.langley@butlersnow.com
             gmainland@milbank.com
             jhughes2@milbank.com
                                                   Attorneys for Financial Guaranty Insurance
             johring@milbank.com
                                                   Company

 Attorneys for Ambac Assurance Corporation




                                                   5
Case:17-03283-LTS Doc#:17110 Filed:06/18/21 Entered:06/18/21 19:17:08               Desc: Main
                           Document Page 8 of 10




   RIVERA, TULLA AND FERRER, LLC                 SEPULVADO, MALDONADO & COURET

   By: /s/ Eric A. Tulla___________              By: /s/ Albéniz Couret Fuentes
        Eric A. Tulla                                Albéniz Couret Fuentes
        (USDC-DPR No. 118313)                        (USDC-PR No. 222207)
        Email: etulla@ riveratulla.com               304 Ponce de León Ave. Suite 990
        Iris J. Cabrera-Gómez                        San Juan, PR 00918
        (USDC-DPR No. 221101)                        Telephone: (787) 765-5656
        Email: icabrera@ riveratulla.com             Facsimile: (787) 294-0073
        Rivera Tulla & Ferrer Building               Email: acouret@smclawpr.com
        50 Quisqueya Street
        San Juan, PR 00917-1212
        Telephone: (787) 753-0438
        Facsimile: (787) 767-5784


                                                 REED SMITH LLP
   HOGAN LOVELLS US LLP
                                                 By: /s/ Jared S. Roach
   By: /s/ Ronald Silverman
                                                     Luke A. Sizemore (admitted pro hac vice)
       Ronald Silverman, Esq.
                                                     Jared S. Roach (admitted pro hac vice)
       Michael C. Hefter, Esq.
                                                     225 Fifth Avenue, Suite 1200
       390 Madison Avenue
                                                     Pittsburgh, PA 15222
       New York, NY 10017
                                                     Telephone: (412) 288-3131
       Telephone: (212) 918-3000
                                                     Facsimile: (412) 288-3063
       Facsimile: (212) 918-3100
                                                     Email: lsizemore@reedsmith.com
       ronald.silverman@hoganlovells.com
                                                             jroach@reedsmith.com
       michael.hefter@hoganlovells.com
                                                 Attorneys for The Bank of New York Mellon, in
   Attorneys for U.S. Bank Trust National
                                                 its Capacity as Trustee to CCDA Bondholders
   Association, in its Capacity as Trustee
   to PRIFA Bondholders




                                             6
Case:17-03283-LTS Doc#:17110 Filed:06/18/21 Entered:06/18/21 19:17:08   Desc: Main
                           Document Page 9 of 10



   O’NEILL & BORGES LLC

   /s/ Hermann D. Bauer
   Hermann D. Bauer
   USDC No. 15205
   250 Muñoz Rivera Ave., Suite 800
   San Juan, PR 00918-1813
   Tel: (787) 764-8181
   Fax: (787) 753-8944
   Email: hermann.bauer@oneillborges.com

   PROSKAUER ROSE LLP

   /s/ Michael A. Firestein
   Martin J. Bienenstock
   Jeffrey Levitan
   Ehud Barak
   (Admitted Pro Hac Vice)

   Eleven Times Square
   New York, NY 10036
   Tel: (212) 969-3000
   Fax: (212) 969-2900
   Email: mbienenstock@proskauer.com
           jlevitan@proskauer.com
           ebarak@proskauer.com

   Michael A. Firestein
   Lary Alan Rappaport
   (Admitted Pro Hac Vice)
   2029 Century Park East
   Suite 2400
   Los Angeles, CA 90067-3010
   Tel: (310) 557-2900
   Fax: (310) 557-2193
   Email: mfirestein@proskauer.com
            lrappaport@proskauer.com


   Attorneys for the Financial
   Oversight and Management Board,
   as Representative of the Commonwealth




                                           7
Case:17-03283-LTS Doc#:17110 Filed:06/18/21 Entered:06/18/21 19:17:08                     Desc: Main
                           Document Page 10 of 10



                                 CERTIFICATE OF SERVICE

         I hereby certify that on this same date a true and exact copy of this notice was filed with

  the Clerk of Court using the CM/ECF system, which will notify a copy to counsel of record.


                                              /s/ Roberto Cámara-Fuertes
                                              Roberto Cámara-Fuertes (USDC-PR No. 219002)
                                              221 Ponce de León Avenue, 5th Floor
                                              San Juan, PR 00917
                                              Telephone: (787) 766-7000
                                              Facsimile: (787) 766-7001
                                              Email: rcamara@ferraiuoli.com




                                                  8
